 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


      Northern                             California
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____     11                                                        Check if this is an
                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                 04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Lombard Flats, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   26      3981571
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                         Mailing address, if different from principal place
                                                                                                  of business

                                                  1114 Villa St; Suite One
                                              ______________________________________________        953 Lombard Street
                                                                                                  _______________________________________________
                                              Number     Street                                   Number     Street

                                              ______________________________________________      _______________________________________________
                                                                                                  P.O. Box

                                                  Mountain View, CA 94041
                                              ______________________________________________        San Francisco, CA 94133-2217
                                                                                                  _______________________________________________
                                              City                        State    ZIP Code       City                      State      ZIP Code


                                                                                                  Location of principal assets, if different from
                                                                                                  principal place of business
                                                  San Clara
                                              ______________________________________________
                                              County                                              _______________________________________________
                                                                                                  Number     Street

                                                                                                  _______________________________________________

                                                                                                  _______________________________________________
                                                                                                  City                      State      ZIP Code




 5.   Debtor’s website (URL)                      None
                                              ____________________________________________________________________________________________________




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Debtor         Lombard Flats, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5 ___
                                             ___ 3 1 ___
                                                      3 ___
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                             Chapter 12




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                _______________________________________________________                        Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases             No
       filed by or against the debtor
       within the last 8 years?                Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                 District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

 10.   Are any bankruptcy cases                No
       pending or being filed by a
       business partner or an                  Yes. Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                       District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                          MM / DD / YYYY
       attach a separate list.                        Case number, if known ________________________________



 11.   Why is the case filed in this        Check all that apply:
       district?
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                               A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have             No
       possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                        It needs to be physically secured or protected from the weather.

                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                        Other _______________________________________________________________________________



                                                    Where is the property?_____________________________________________________________________
                                                                               Number          Street

                                                                               ____________________________________________________________________

                                                                               _______________________________________         _______ ________________
                                                                               City                                            State ZIP Code


                                                    Is the property insured?
                                                        No
                                                        Yes. Insurance agency ____________________________________________________________________

                                                              Contact name     ____________________________________________________________________

                                                              Phone            ________________________________




               Statistical and administrative information




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              _______________________________________________________                          Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                      Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            1-49                                1,000-5,000                              25,001-50,000
 14.   Estimated number of                  50-99                               5,001-10,000                             50,001-100,000
       creditors
                                            100-199                             10,001-25,000                            More than 100,000
                                            200-999

                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15.   Estimated assets                     $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16.   Estimated liabilities                $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          03/ 30/ 2021
                                            Executed on _________________
                                                        MM / DD / YYYY


                                             _____________________________________________                     Martin Eng
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                     Manager
                                            Title _________________________________________




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Debtor        _______________________________________________________                Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                            _____________________________________________      Date      _________________
                                            Signature of attorney for debtor                             MM    / DD / YYYY



                                                  Lawyer will fill it in
                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number     Street

                                           ____________________________________________________   ____________ ______________________________
                                           City                                                   State        ZIP Code

                                           ____________________________________                   __________________________________________
                                           Contact phone                                          Email address



                                           ______________________________________________________ ____________
                                           Bar number                                             State




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